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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:07CR426
                                               )
                      Plaintiff,               )
                                               )                    ORDER
               vs.                             )
                                               )
BENNY WILSON,                                  )
                                               )
                      Defendant.               )

         This matter is before the Court on the Defendant’s Motion in Limine (Filing No. 84)

and the government’s response (Filing No. 87).

         IT IS ORDERED that the Defendant’s Motion in Limine (Filing No. 84) is held in

abeyance and will be decided at the conference scheduled in chambers on the first day of

trial.

         DATED this 13th day of June, 2008.

                                                   BY THE COURT:

                                                   s/ Laurie Smith Camp
                                                   United States District Judge
